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                      UNITED STATES DISTRICT COURT
                       WESTERN DISTRICT OF TEXAS
                            AUSTIN DIVISION

Jerome Schmidt,                           §
                                          §
       Plaintiff,                         §     NO: AU:18-CV-00088-DAE
vs.                                       §
                                          §
United States of America,                 §
                                          §
       Defendant.                         §

             ORDER RESETTING BENCH TRIAL CONTINUED
                    VIA VIDEO CONFERENCE
       It is hereby ORDERED that the above entitled and numbered case is reset

to continue the BENCH TRIAL before Senior U.S. District Judge David A. Ezra

in Courtroom 5, on the First Floor of the John H. Wood, Jr. United States

Courthouse, 655 East Cesar E. Chavez Boulevard, San Antonio, TX, on Tuesday,

July 21, 2020 at 09:00 AM. The Court will send video conference instructions to

the parties via email prior to the hearing.

       IT IS SO ORDERED.

       DATED: San Antonio, Texas July 01, 2020.




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                                              DAVID A. EZRA
                                              SENIOR U.S. DISTRICT JUDGE
